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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      AMARILLO DIVISION

  ALLIANCE FOR HIPPOCRATIC
  MEDICINE, et al.,

              Plaintiffs,

  and

  STATE OF MISSOURI, et al.,

              Intervenor Plaintiffs.

  v.                                                            2:22-CV-223-Z                                   |
  U.S. FOOD AND DRUG
  ADMINISTRATION, et al.,

              Defendants,

  and

  DANCO LABORATORIES, LLC,

              Intervenor Defendant.

                                               NOTICE

         Before the Court is Plaintiffs’ Notice of Voluntary Dismissal Without Prejudice under

 Federal Rule of Civil Procedure 41(a)(1)(A)(i) (“Notice”) (ECF No. 203), filed November              19,

 2024. A Rule 41(a)(1)(A)(i) notice is effective if filed “before the opposing party serves either an       |

 answer or a motion for summary judgment.” FED. R. Civ. P. 41(a)(1)(A)(i). Defendants have not

 served an answer or a motion for summary judgment. A voluntary dismissal of an action is “‘self-

 effectuating ... no order or other action of the district court is required.” Jn re Amerijet Intern.,

 Inc., 785 F.3d 967, 973 (Sth Cir. 2015). This Court has “los[t] jurisdiction” as to Plaintiffs’ claims.

 Id. All claims by Intervenor Plaintiffs remain at this juncture.
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       The Court issues notice accordingly.

       November ne 2024


                                                   MATYHEW J. KACSMARYK
                                                   UNITED STATES DISTRICT JUDGE
